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 2
                                   UNITED STATES DISTRICT COURT
 3
                                NORTHERN DISTRICT OF CALIFORNIA
 4
                                            OAKLAND DIVISION
 5

 6    EPIC GAMES, INC.                                     Case No. 4:20-cv-05640-YGR
 7
             Plaintiff, Counter-defendant                  [PROPOSED] ORDER GRANTING APPLE
 8    v.                                                   INC.’S ADMINISTRATIVE MOTION TO
                                                           MODIFY ORDER REGARDING WITNESS
 9    APPLE INC.,                                          COMMUNICATIONS
10           Defendant, Counterclaimant                    The Honorable Yvonne Gonzalez Rogers
                                                           Courtroom 1, 4th Floor
11

12
             Apple Inc. (“Apple”) has filed an administrative motion to modify this Court’s May 31, 2024
13
     order governing the communications of four Apple witnesses who testified at the May 2024 evidentiary
14
     hearing.   See Dkt. 974 (Minute Order).       Having considered the motion, all associated briefs,
15
     declarations, exhibits, and for good cause appearing:
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             IT IS HEREBY ORDERED that the administrative motion is GRANTED. The Court’s May
17
     31, 2024, order is hereby MODIFIED. Apple’s four witnesses, Matthew Fischer, Alex Roman, Carson
18
     Oliver, and Phil Schiller, may discuss the content of recently produced documents, including in
19
     preparation for any future testimony. Messrs. Fischer, Roman, Oliver, and Schiller are admonished to
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     still refrain from discussing their prior testimony given during the May 2024 evidentiary hearing.
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     Dated: _______________, 2024
23
                                                           _____________________________
24                                                         The Honorable Yvonne Gonzalez Rogers
                                                           United States District Court
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     [PROPOSED] ORDER GRANTING APPLE’S                                           CASE NO. 4:20-CV-05640-YGR
     ADMINISTRATIVE MOTION TO MODIFY
     ORDER RE WITNESS COMMUNICATIONS
                                                       1
